           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                            1:07CR69-14

UNITED STATES OF AMERICA,                            )
                                                     )
Vs.                                                  )               ORDER
                                                     )
DENNIS CLARY                                         )
__________________________________                   )

        THIS MATTER is before the court upon the direction of the district court,

which has, sua sponte, determined that the court’s Plea Deadline should be

dissolved in this particular matter and has directed entry of this Order.

                                      ORDER

        IT IS, THEREFORE, ORDERED that the court’s Plea Deadline is

DISSOLVED.




                                              Signed: November 13, 2007




      Case 1:07-cr-00069-TSE-DLH    Document 304         Filed 11/13/07   Page 1 of 1
